                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political subdivision
in the City of Fayetteville, State of Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM;
NATE COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent and
next friend of MADELINE PARTAIN; LETA CAPLINGER;
ADAM WEBB; ARKANSAS LIBRARY ASSOCIATION;
ADVOCATES FOR ALL ARKANSAS LIBRARIES;
PEARL’S BOOKS, LLC; WORDSWORTH COMMUNITY
BOOKSTORE LLC d/b/a WORDSWORTH BOOKS;
AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.;
AUTHORS GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; and FREEDOM TO READ FOUNDATION                                                   Plaintiffs

                                 Case No. 5:23-cv-05086-TLB

CRAWFORD COUNTY, ARKANSAS;
CHRIS KEITH, in his official capacity as Crawford County Judge;
TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA HOWELL;
BEN HALE; CONNIE MITCHELL; DAN TURNER; JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER; DANIEL SHUE;
JEFF ROGERS; DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
DEBRA BUSCHMAN; TONY ROGERS; JOSHUA ROBINSON;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and
CHUCK GRAHAM, each in his or her official capacity as
a prosecuting attorney for the State of Arkansas.                                    Defendants

     MIEL PARTAIN’S, OBJECTIONS AND RESPONSES TO DEFENDANTS PROSECUTING
     ATTORNEYS’ FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION

       Plaintiff Miel Partain, provides the following objections and responses to Defendants

Prosecuting Attorneys’ First Set of Interrogatories and Request for Production in accordance with

Federal Rules of Civil Procedure 33 and 34.
                                           Interrogatories

        INTERROGATORY NO. 1: Identify five items that (1) you wish to read, browse, or view

and (2) you believe are subject to regulation under Section 1 of Act 372 of 2023.

        ANSWER: Plaintiff Miel Partain objects to this interrogatory because it requires her to

draw legal conclusions about Section 1 and Act 372 which she is unqualified to make and,

additionally, which section of Act 372 she asserts is unconstitutionally vague.

        INTERROGATORY NO. 2:                For each item identified in response to Interrogatory No.

1, identify the chapter numbers, timestamps, or other specific indicator that you believe or your

daughter believes make the item subject to Section 1.

        ANSWER: See answer to Interrogatory No. 1.

        INTERROGATORY NO. 3:                 For the years 2019 to the present, identify every place

from which you have loaned, rented, purchased, or browsed for books, including brick-and-mortar

stores, online retailers, and libraries.

        ANSWER: Crawford County Public Library, Van Buren Branch, Van Buren High School

Library and numerous teacher's classrooms. Chapters on Main bookstore in Van Buren, AR, Novel

bookstore in Memphis, TN, Dickson Street Bookshop and Pearl's Books in Fayetteville, AR, Elliott

Bay Book Company in Seattle, WA, and Amazon.com. I have also borrowed numerous books

from friends.

                                           Requests for Production

        REQUEST FOR PRODUCTION NO. 1: Produce copies of the portions of items

identtified in response to Interrogatory No. 2 that you believe make the item subject to regulation

under Section 1 of Act 372 of 2023.

        RESPONSE: See answer to Interrogatory No. 1.

        REQUEST FOR PRODUCTION NO. 2: Produce all documents relied on in answering
this First Set of Interrogatories and Requests for Production.

       RESPONSE: See answer to Interrogatory No. 1. Without waiving this objection, the

response is “None.”

       Submitted this 18th day of March, 2024


                                              /s/Bettina E. Brownstein
                                              Ark. Bar No. 85019
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                                              Little Rock, AR 72201
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                                              Attorney for Plaintiffs Hayden Kirby,
                                              Leta Caplinger, and Mel Partain in her
                                              own capacity and as Mother and Next
                                              Friend of Madeline Partain.

                                              On Behalf of the Arkansas Civil
                                              Liberties Foundation


                                   VERIFICATION

              I, Miel Partain, declare under penalty of perjury under the laws of the United

       States of America that the foregoing responses are true and correct.

              Executed on March 18, 2024 at Van Buren, Arkansas.


                                                    /s/Miel Partain
                                                      Miel Partain



                                   CERTIFICATE OF SERVICE

                I, hereby certify that on this 18th day of March, 2024, I served the foregoing

Submitted this 18th day of March, 2024

                                              /s/Bettina E. Brownstein
